                  UNITED STATES COURT OF INTERNATIONAL TRADE


__________________________________________
                                          :
INCASE DESIGN CORP.,                      :
                                          :
                        Plaintiff,        :
                                          :
                        v.                :                  Court No. 14-00299, etc.
                                          :                  (as per attached schedule)
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________:

                         JOINT STATUS REPORT OF JUNE 3, 2021

       In accordance with the Court’s orders in these matters directing the parties to file joint

status reports within 60 days after the date of final judgment in Apple Inc. v. United States, CIT

number 13-00239, the parties hereby jointly advise the Court on the status of the actions

identified above and in the attached Schedule.

       In light of the decision in Apple, the parties have conferred concerning the resolution

of these matters. Based upon those consultations, Plaintiff is currently reviewing each case

to determine which products and entries may be appropriate for stipulation and which

entries should be abandoned. Plaintiff anticipates providing this information to Defendant

within the next 14-days from the date of this joint status report.

       Thereafter, and based upon consultations with Defendant, Plaintiff will provide

Defendant with proposed stipulations for judgment, and as needed, with additional

information concerning the merchandise in order to dispose of the cases on the attached

schedule. Plaintiff anticipates that the preparation of those stipulations can be completed
JOINT STATUS REPORT                                  Court No. 14-00299, etc.



                         SCHEDULE OF CASES


               Plaintiff                 Court No.
               Incase Design Corp.       14-00299
               Incase Design Corp.       15-00144
               Incase Design Corp.       16-00026
               Incase Design Corp.       16-00181
               Incase Design Corp.       17-00037




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